Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 1 of 44

Debtor 1 LYDIA CRAYTON

Date: 10/22/2021@4:28 PM yja:email

a Clerk, U.S. Bankruptcy
Debtor 2 visi
DebIOr 2 oo) Fauna waa a ina Orlando Division

Uniled States Bankruptcy Court for the Middle District of Florida [=|

Case number §:21-BK-04261-LVV

(if known)

Fill in this information to identify your case:

 

WY Check if this is an
amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Ea Summarize Your Assets

Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 1064/8) 2151.22
1a, Copy line 55, Total real estate. from Schedule A/B i. cece neces sete sscenseenecesenesenesserenenenectnesuneneisieesieanenanecnestan : S___ #, iN ee

1p, Copy line 62, Total personal property, from Schedule A/Bo....ceccccccscessseessessssenssecsicessciecnseessicssessanessaessesecsvisanseaticeeieees $ 4,600.72

 

1c. Copy line 63, Total of all property on Schedule A/B

Ey Summarize Your Liabilities

cisgeuineneesnaeesscsscaeceuitssneteesieenistinstanescne evan states teyseeeseuernseetienseesee cies $ 6,751.94

 

 

 

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060}

 

686,971.01
2a. Copy the total you listed in Calumn A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $_ ores

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) § 0.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F ieee tenis _— To
3b. Copy the total claims from Part 2 (nonpriority unsecured claims} from line 6, of Schedule E/F ... + § 3,241.21

Your total liabilities $ 690,212.22

 

Ee Summarize Your income and Expenses

4. Schedule I: Your income (Official Form 1061)

§ 5,815.33
Copy your combined monthly income from line 12 of Schedule |. ese ce ee tt eee ee ee eee —

3. Schedule J: Your Expenses (Official Form 106) 5817.71
Copy your monthly expenses fram line 22¢ Of SCREQUIC So... ene ees ete eR RAE EE $0 Ne

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

 
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LYDIA H

Firs) Rame

CRAYTON

Debtor 1

 

Migaie Nama, Last Nama

rr Answer These Questions for Administrative and Statistical Records

Case number urinonn 8:2 1-BK-04261-LVV

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

() Wo. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Q) ves

7. What kind of debt do you have?

QO Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

family. or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 2B U.S.C. § 159.

QC) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official

Farm 122A-1 Line 11: OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.)

9b. Taxes and certain other debts you awe the government. (Copy line 6b.)

9c, Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

Qd. Student loans, (Copy line 6f.)

Ye. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)

9g. Total. Add lines 9a through 9f.

 

Total claim

$ 0.00
$_ 0.00
$ 0.00
5 ___ 0.00
$ 0.00

+s 0.00

 

 

$

___5,815.33

 

 

 

$ 0.00

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2

 

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 3 of 44

Fill in this information to identify your case and this filing:

LYDIA H CRAYTON

Firs Name Midale Name: Las! Name

Debtor 1

 

Debtor 2
(Spouse, WJiling} First Name Middle Name Last Name

 

United States Bankruptey Court for the: Middle District of Florida [=]
6:21-BK-04261-LVV

Case number

 

@ Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 42/15

in each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Q) No. Go to Pant 2.
4 Yes. Where is the property?

What is the property? Creck all that apply Do not deduct secured claims or exemptions. Put

Ww Single-family home ihe amount of any secured claims on Schedule DO:
1.4 706 GENTRY CT . Creditors Who Have Claims Secured by Property.
— Dupiex or multi-unit building
Steet address, if available, ar other description
Q Condominium or cooperative Current value of the Current vaiue of the
Q} Manufactured or mobile home entire property? portion you own?
_ — Q Lang $ 425,000.00 0.00
U1 investment property
GOTHA FR 94734 C] Timeshare Describe the nature of your ownership
City State ZIP Code g interest (such as fee simple, tenancy by
Other the entiretias, or a lifa estate), if known.
Who has an interest in the property? Check one.
ORANGE Q Debtor 1 only

County Q Debtor 2 only
C1 Debtor 1 and Debtor 2 only
W@ Atteast one of the debtors and another

Other information you wish to add about this item, such as focal
property identification number:

WY check if this is community property
(see instructions)

if you own or have more than one, list here:

 

 

 

What is the property? Check all that apply. Do nol deduc! secured claims or exemptions. Put
U Single-family home the amaunt of any secured claims on Schedule D:
12 Oo , ¥ jticunit building Creditors Who Have Claims Secured by Property.
On i uplex or muiti-unt
Street address, if available, or other description P .
Q Condominium or cooperative Current value of the Current value of the
O Manufactured or mobile home entire property? portian you own?
OQ) Lang $ 5
QO investment proper
OT pery Describe the nature of your ownership
Cily State ZIP Code Timeshare Interest (such as fee simple, tenancy by
O) other the entireties, or a life }, if known,
Who has an interest in the property? Check one. ee
Q Debtor 1 only
——__—__—_—_——————__ 0) Debtor 2 only
County . a -
D) peptor 1 and Debtor 2 only O check if this is community property

D2 at least one of the debtors and another (see instructions)

Other infarmation you wish to add about this item, such as local
property identi ion number:

 

Official Form 106A/B Schedule AJB: Property page 1

 
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Debtor 1 LYDIA H CRAYTON Case number (df tnowny, 6:21-BK-04261-LVV
First Narre Middle Name LastName a
What is the property? Check all that apply. De not deduct secured claims or exemptions. Put
Q Single-tamily home the amount of any secured claims on Schedule O.
1.3. ; Creditors Who Have Ciaims Secured by Property.
Street address, if available, or other description Q Duplex or multi-unit building
O) condominium or cooperative Current value of the Current value of the
Q) Manufactured or mobile home entire property? portion you own?
O Lana $s
O) Investment property
cy State ZIP Code += Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by
WW other the entireties, or a life estate), if known.
Who has an interest in the property? Check ane. —
C1 Debtor 4 only
County
Q Debtor 2 only
O Debtor 1 and Debtor 2 only Q) Cheek if this is cammunity property
OD Atleast one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for ail of your entries fram Part 1, including any entries for pages $ 0.00
you have attached for Part 1. Write that number here. ........ Wc eeeeeeaeenerseneetgeeseeeenecsaen sess reeaenessaeseneersssteseeeeeneieereeae >

Ea Describe Your Vehicles

 

 

 

Do you own, lease, or have legal or aquitable interest in any vehicles, whether they are registered or not? Include any vehicies
you own that someone else drives. If you lease a vehicle, also report it on Schedule G. Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

QO No
Yes
aa. Make: Ford _
Model: Focus
Year: 2015
65754 _

Approximate mileage:

Other information:

If you own or have more than one, describe here.

3.2, Make:
Model:
Year.
Approximate mileage

Other information:

Official Form 106A/B

Who has an interest in the property? Check one.
W debtor 1 only

Q Debtor 2 only

Q] Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

O) Check if this Is community property (see
instructions)

Who has an interest in the property? Check one.
 Debtar 1 only

C) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(J atleast one of the debtors and another

QO) Check if this is community property (see
instructions)

Schedule A/B: Property

Do nol deduct secured claims or exemplions Put
the amount of any secured claims on Scheaule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

$ 9,384.00 5 2,151.22

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D.
Creditors Wha Have Ciaims Secured by Property.

Current value of the
portion you own?

Current vaiue of the
entire property?

page 2

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page5 of 44

 

Who has an interest in the property? Check one.

(1 atteast one of the debtors and ancther

O) Check if this is community property (see

Who has an interest in the property? Check one.

Debior1 LYDIA H CRAYTON
First Name Middle Name Last Name
a3 Make:
Mode!: Q Debtor 1 only
Y D debtor 2 only
ear:
C1) Debtor 1 and Debtor 2 only
Approximate mileage
Other information:
| ~ ~~
instructions)
3.4. Make:
Model: O Debtor 4 only
Year: C1 Debtor 2 only

Approximate mileage:

Other information:

4. Watercraft, aircraft, motor homes, ATVs and other recr

Q Debtor 1 and Debtor 2 only
At least one of the debtors and another

O) Check if this is community property (see
instructions)

i icles, other vehicles, and

Case number is tnown 8:2 1-BK-04261-LVV

Oa not deduct secured claims or exemptions. Put

the amount of any secured

claims on Schedule O-

Craditors Who Have Claims Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

Do not deduct secured claims or exemptions. Put

the amount of any secured

claims on Schedule D:

Creditors Who Have Claims Secured by Property.

Current value of the
entire property?

Exampies: Boats, trailers, motors, personat watercraft, fishing vessels, snowmobiles, motorcycle accessories

W no
Q ves

4.1, Make:
Modei:
Year:

Other information:

!
{
i ce ee ed
|f you own or have more than one, tist here:
4.2, Make

Madel:

Year:

Other information:

Who has an interest in the property? Chack one.
C1 Debtor 1 only

QO) Debtor 2 only

QO) Debtor 1 and Debtor 2 only

D Atteast one of the debtors and another

OC) check if this is community property (see
instructions)

Who has an interest in the property? Check one

QO Debtor 1 only

Q debtor 2 only

CJ Debtor 1 and Debtor 2 only

(1 At least one of the debtors and another

 

Current value of the
portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

Do not deduct secured claims or exemptions. Pul
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
entire property?

 

Current value of the
portion you own?

 

 

 

j . 3
i O Check if this is community property (see $ —
i instructions)
i
§. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages Ss 2,151.22
you have attached for Part 2. Write that number here be ccecieseaneveeceetanee cotta foc ee TT
Page 3

Official Form 106A/B

Schedule A/B: Property

 

 
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Destor: LYDIA H CRAYTON Case number u/inown 8:2 1-BK-04261-LVV

First Kame Middle Name Last Name

Describe Your Personal and Household Items

 

Do you own or have any legal or equitable interest in any of the following Items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
One oo . - :
id Yes. Describe...... Stove, Microwave, Beds, Night Stands, Sofas, Chairs, Forks, Spoons, Knives,
Small Appliances, Washer Dryer, Lamps, Dressers, Pictures, and Tables

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections: electronic devices including cell phones, cameras, media players, games

OQ No jee eae . meee de eee coves sob een tea gence cee : . . sews
i Yes. Describe.,.......: Televisions, Radio, and Camera

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects:
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

No woe on we . some sums ens

O Yes. Deseribe.....

 

 

3. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pooi tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

4 No
C1 Yes. Deseribe..........,

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
@ No a
O) Yes. Describe........../

 

 

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
Q) No

W@ ves. Describe...
Shoes, Hats, Coats, Scarfs, Shirts, Bells Purses, and Jeans...

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
Ol No
4 Yes. Describe... Earrings, Neclace, Watches, Engagement ring, and Bracelets

13.Non-farm animals
Examples: Dogs. cats, birds, horses

WW Nno vm fa bce eg ee nm
Q ves. Describe...

 

+4. Any other personal and household items you did not already list, including any health aids you did not list

i No
Ql] Yes. Give specific
information. fttreesscesee ~ wore nw er Trs 7 ee sec cee araant aneeans SE span a8 en

15. Add the dollar vatue of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number Were 0.0.0 ccc ccc ce coeeres searaeserecsersaiesestae aecnirsceeneccamenneaneerane cee teanecegssestasanncgscenesscanes

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Da not deduct secured claims
or exemptions.

$ 750.00

§ 350.00
§
5
3

/$____ 350.00

" s 200.00
§

73 _

s. 1,650.00

page 4

 
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Debtor 4 LYDIA

H

CRAYTON

 

Frest Name

Madie Name Last Name

| rart 4: [Ea Your Financial Assets

6:21-BK-04261-LVV

Case number (i known}

 

Do you own or have any legal or equitable interest in any of the following?

16.Cash

Current value of the
partion you own?

Do not deduct secured claims
ar exemptions.

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

id No
Oves.

17. Deposits of money

CABM eee § 0.00

 

Examples: Checking, savings, or other financial accounts: certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. if you have multiple accounts with the same institution, list each.

Q No

18. Bonds, mutual funds, or publicly traded stocks.

YW no
QO ves...

Institution name

 

 

 

 

 

 

 

 

 

 

 

 

 

an LLC, partnership, and joint venture

Q) No

Wi ves. Give specific
information about

THEM... eee

 

 

 

 

17,1, Checking account: __ $
17.2, Checking account. a $
17.3. Savings account: FAIRWINDS CREDIT UNION 5 5.00
17.4. Savings account: PENFED CREDIT UNION $ 5.00
17.5. Certificatas af depasit: $
17.6. Other financial account: $ _
17.7. Other financial account, $
17.8, Other financial account 3
17.9, Other financial account: $ _
Examples. Bond funds. investment accounts with brokerage firms, money market accounts
Institution or issuer name
$
$
—_ — §
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
Name of entity: % of ownership:
SHELF OVERSTOCKS LLC 50% $. 182.00
O% 5
0% % $
page 5

Official Form 106A/B

Schedule AJB: Property

 
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Debtor1 LYDIA H CRAYTON Case number renown 0:2 1-BK-04261-LVV

 

First Name Middie Name Lasi Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks. cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transler ta someone by signing or delivering them.

No
U) Yes. Give specific Issuer name
information abaut

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them... ——. $
$
-_—- $
21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
W no
Dyes. tist each
account separately. Type of account: Institution name:
401(k) or similar plan $ ______
Pension plan: $
IRA: $
Retirement account: $
Keogh’ $
Additional account: _ $.
Additional account: ee - $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
id No
ves Institution name or individual:
Electnc $
Gas: — $
Heating oil: $
Security deposit on rental unit: | g
Prepaid rent: $
Telaphone: _. $
Water: $
Rented furniture: $
Other. ee —— $ _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
UW no
OD Yes ioe Issuer name and description:
$
ce $
5

 

 

Official Form 106A/B Schedule A/B: Property

page 6

 
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Debtor? LYDIA H CRAYTON Case number inom -2 1-BK-04261-LVV

Frst Name Middle Name Last Name

 

24, Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

W no

Q1 Yes. Give specific :
information about them.... 1S
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

QC No

u Yes. Give specific Shelfoverstocks.com -
information about them...

§ 24.50

27. Licenses, franchises, and other general intangibles
Examples: Building permits. exclusive licenses, cooperative association holdings. liquor licenses, professional licenses
YB no

QO yes. Give specific
information about them.

 

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

u No . . ene
CD Yes. Give specific information Federal: $
about them, including whether

you already filed the returns State: $
and the tax years. oo. ;
Local: $

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Wi No

C1) Yes. Give specific information. ..........
Alimony:

Maintenance:
; Support.

_ Divorce settlement:

OA hw

Property settlement:

30. Other amounts someone owes you . .
Exampies: Unpaid wages, disability insurance payments, disability benefits, sick pay. vacation pay, workers’ compensation,
Social Security benefits; unpaid Joans you made to someone else

W No

Q) Yes. Give specific information.............:

Official Form 106A/B Schedule A/B: Property page 7

 
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Debtor 1 LYDIA H CRAYTON Case number is saown 8-2 1-BK-04261-LVV

Fesi Name Made Name LastName

31. interests in insurance policies
Exampies: Health, disability, or life insurance; heatth savings account (HSA), credit, homeowner's, or renter’s insurance
W no

O1 Yes. Name the insurance company Company name: Beneficiary: Surrender or refund value
of each policy and list its value. ..

Ss.

$

$
32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

id No

Yes. Give specific information........

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, empioyment disputes, insurance claims, or rights to sue

Wd No

O) Yes. Describe each claim. ..........-..

    

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

id No ” sone a - nie ene oe ee cme eet te cmetee sete ee

U) Yes. Describe each claim. ov... -

35. Any financial assets you did not already list

WW No pooommr me eres ga tne oe gran mane mens mis meanness

QO) Yes. Give specific information... : : $

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 457.50
for Part 4. Write that number here bose veseebseetecavisae succitsvenve bocce Gaeetiteerostitanien te veaneenenes pa

 

 

EERE ceserve Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
C) No. Go to Part 6.

4 Yes. Go to line 38.
Current value of the
portion you own?
Do not deduct secured claims

or exemptions.
38. Accounts receivable or commissions you already earned
CI ves. Describe....... 5

39. Office equipment, furnishings, and supplies
Exampias: Business-related computers, software, modems, printers. copier:

1d Ves. Describe... a1 |_iN-ONE FAX, DESK, COMPUTER, CHAIRS, PAPER, AND ACCESSORIES §

5, lax machines, rugs, lelephones, desks, chairs, eleclronic devices

460.00

Officia! Form 106A/B Schedule AJB: Property page &

 

 
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peter: LYDIA. oH CRAYTON Case number vrmmoum€:21-BK-04261-LVV

Fest Name Middle Kame Last Name

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

W No

QO) Yes. Describe........ : : — oe “'s

41.Inventory
Wd No po tne meennmenear ine fnew ma ine nat ant
QO] Yes. Describe....... $

 

42. Interests in partnerships or joint ventures

 

 

 

Name of entity: % of ownership.
_ __% $
— % $
__% $

 

43. Customer lists, mailing lists, or other compilations
&d No
Q) Yes. Do your fists include personally identifiable information (as defined in 11 U.S.C. § 101{41A))?

Q) No

Q) Yes. Describe... | ” me - ve
$

44. Any business-related property you did not already list
ld No
Q) Yes. Give specific
information ....,.... _

 

 

 

 

 

 

 

4§. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 342.00
for Part 5, Write that number here .... sees sosneenceseecgensenestuitttesensee ecctte tentabycesuseetteniect ities SD ~ _—

   

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, fist it in Part 1.

46.00 you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

W@W No. Go to Part 7.

O Yes. Go to line 47.
Currant value of the
portion you own?
Do not deduct secured claims
or exemptions.

47, Farm animals
Examples: Livestock, poultry, farm-raised fish

i Ne . . - ee tte tht sane 2 eee
= Se a

 

Official Form 106A/B Schedule A/B: Property page 9

 
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Debtor 1 LYDIA H CRAYTON Case number ta snoun, ©-21-BK-04261-LVV

Furst wame Maile ame Last Name

 

48. Crops—either growing or harvested

i no price ete evn eee eae se pc ne ee eee centre ey ee
OQ ves. Give specific ;
information. ..........1 $

  

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
W no
DD e8 occ

50. Farm and fishing supplies, chemicals, and feed

No

51. Any farm- and commercial fishing-related property you did not already list
no

Q) Yes. Give specific | :
information. ......... ' §

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attachad $
for Part 6. Write that number here en pons DP

 

 

 

 

BEEMAN ve serine All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

UW No ous fener wen et . ~ tee ae ee ote ne

QO ves. Give specific ‘
information. ........... : : $

54. Add the dollar value of all of your entries from Part 7. Write that ber here ste >
Eo List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2000.

 

 

> $ 2,151.22

 

 

 

 

 

 

 

56. Part 2: Total vehicles, line 5 $ 2,151.22
§7.Part 3: Total personal and household items, line 15 $ 1,650.00
58. Part 4: Total financiai assets, line 36 $ 457.50
. 42.00
59. Part 5: Total business-related property, line 45 $ 342.0
cat : 0.00
60. Part 6: Total farm- and fishing-related property, line 52 S$
: : 0.00
61.Part 7: Total other property not listed, line 54 +3
&2. Total personal property. Add lines 56 through 61. 00... ee . &, 4,600.72 : Copy personal property total > +5 4,600.72
. $ 6,751.94
63. Totat of all property on Schedule A/B. Add line 55 + line 62... ce
page 10

Official Form 106A/B Schedule A/B: Property

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 13 of 44

Fill in this information to identify your case;

LYDIA H CRAYTON

Firsi Name Modle Name Las! Name

Debtor 1

Debtor 2 -
(Spouse, if filing) FrstName Moora Name Last Name

 

United States Bankruptcy Courl for the: Middle District of Florida [x]

Case number 6:21-BK-04261-LVV Check if this is an
Wrknown) amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, jis! the property that you claim as exempt. if more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages. write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
spacific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-. such as those for health aids, rights to receive certain benefits, and tax-exempt
retirament funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to sxcead that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

G You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
Q You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on = Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/S that lists this property portion you own

Copy the value from Check only one box for each exemption.

Schedule A/B

Brief Fla. Stat. Ann. § 222.25(4)
description: 2015 FORD FOCUS $2,258.77 Bs 2,258.77 Fla. Stat. Ann. § 222.25 (1)
0 100% of fair market value, up to

Line from any applicable statutory fimit

Schedule AB: 3-1
Fla. Stat. Ann. § 222.25 (4

Bret ton, HOUSEHOLD ITEMS $750.00 Ws 750.00 OEON)
Line from 0 100% of fair market value, up to
Schedule A/B: Sf _ any applicable statutory limit

i Fla. Stat, Ann. § 222.25 (4)
Brief
ae ELECTRONICS $350.00 5 350.00 522(b)(2)(B)

description:
2 100% of fair market value, up to

Line from any applicable statutory limit

Schedule VB: 7 __

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

a No
© Yes. Did you acquire the property covered by the exemption within 1.215 days before you filed this case?

QO no
Q) yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 10f 2

 
Case 6:21-bk-04261-LVV Doc 22

Debtor 4 LYDIA H

CRAYTON

 

Firgi Name

Misdic Name Last Name

Additional Page

Filed 10/22/21 Page 14 of 44

Case number (4 known) 6:21-BK-04261-LVV

 

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Briel
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

Current value of the
partion you own

Copy the value fram

Amount of the exemption you claim Specific laws that allow exemption
Check only one box for each exemption

Fla. Stat. Ann. § 222.25 (4)
Ws 350.00 Fla. Const. Art.10, § 4

 

C1 100% of fair market value, up to
any applicable statutory limit

Fla. Stat. Ann. § 222.25 (4)
ws_ 200.00 Fla. Const. Art.10, § 4
QO 100% of fair market value, up to

Fla. Stat. Ann. § 222.25 (4)
Us 10.00 Fla. Const. Art.10, § 4
QO) 100% of fair market value, up to

Fla. Stat. Ann. § 222.25 (4)

U) 100% of fair market value, up to

Fla. Stat. Ann. § 222.25 (4)

UO 100% of fair market value, up to

Fla. Stat. Ann. § 222.25 (4)

 

(2 100% of fair market value, up to

 

C2 100% of fair market value, up to

QO 100% of fair market value, up to

 

(2 100% of fair market value, up to

 

C1 100% of fair market value, up to
any applicable statutory limit

 

O 100% of fair market value, up to
any applicable statutory limit —_—

Schedule VB

CLOTHES 5 350.00

11

JEWELRY ss g§_———200.00

42 any applicable statutory limit

DEPOSITS § 10.00

a7 any applicable statutory limit

BUSINESS INTERES g¢ 182.00 Os 182.00

19

—_— any applicable stalutory fimit

DOMAIN $ 49.00 ws 49.00

26 any applicable statutory limil

OFFICE SUPPLIES g 182.00 ws 182.00

39 any applicable statutory timit
$ Os

—_— any applicable statutory limit
$ Os

——_ any applicable statutory limit
$ Us

—_—- any applicable statutory limil
$ O¢$
8 Os
$ Os

 

Schedule C; The Property You Claim as Exempt

UO 100% of fair market value, up to
any applicable statutory limit

 

page 2_ of 2.

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 15 of 44

Fill in this information to identify your case:

peor LYDIA H CRAYTON

First Narie Midcle Rare Last Name.

 

Debtor 2
(Spouse, f fihng) Fire name Midcte Name Last Name

 

United States Bankruptcy Court for the: Middie District of Florida [=]
Case number 6:21-BK-04261-LVV

«i know) @ Check if this is an
amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
Q No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
© Yes. Fill in all of the information below.

List All Secured Claims
Cofumn A Column 8 Column C

2. List all secured claims. If a creditor has more than one secured claim, list the credilor separately amount of claim Valse of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part2. hy not deduct the that supports this —_ portion

 

i As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim If any
[2.4] FAIRWINDS CREDIT UNION Describe the property that secures the claim: $ 7,230.78 5 9,348.00 5 2,153.22
GrediorsName EI ne
1350 W COLONIAL DR 2015 FORD FOCUS SE
Number Sweety s—<—stsS ooo cee it oe
As of the date you file, the claim is: Check ail that apply.
Q Contingent
WINTERGARDEN FL 34787 uniquaated
City Stale ZIP Code O bisputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
&F Debtor 1 only (i An agreement you made (such as mortgage or secured
O debtor 2 only car loan)
Q) Debtor 1 and Debtor 2 only OQ Statutory lien (such as tax lien, mechanic's lien)
QO) atleast one of the debtors and another C3 Judgment lien from a fawsuit
O other (including a nght to offset)
C] Check if this claim relates to a
community debt
Oate debt was incurred Last 4 digits of account number oO a 5 3 coe
(23) US BANK Describe the property that secures the claim: g__ 677,119.87 g 425,000.00 5 0.00
Gredto’sName SO*~CS~CSstCSst‘CsS - - - - eee ae ne eerena mes .
706 GENTRY CT
! VE
60 LIVINGSTON A SINGLE FAMILY RESIDENCE
Number Street ne we : : __ _ weed
EP-MN-WS3D As of the date you file, the claim is: Check all that apply.
“— O Contingent
SAINT PAUL MN 55107 @& Unliquidated
City Stale ZIP Code @ disputed
Who owes the debt? Check one Nature of lien, Check all that apply
C2 Debtor 1 only O27 An agreament you mage (such as mortgage or secured
QO debtor 2 only car joan)
2 debtor 1 and Debtor 2 only U1 Statutory lien (such as tax hen, mechanic's lien)
iif Atleast one of the debtors and another Judgment lian from a lawsuit

2 other (including a right to offset)
O Check if this claim relates to a
community debt

Date debt was incurrag 1 1/20/200€ Last 4 digits of be 5 4 2 0 eee
Add the dollar value of your entries in Column A on this page. Write that number here: 684,350.65]

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 oa B

 
Case 6:21-bk-0426

LYDIA

Debtor 1

1-LVV Doc 22 Filed 10/22/21 Page 16 of 44

CRAYTON case number wrnoen 8:21-BK-04261-LVV

 

Fust Name Middle Name

 

Last Name

Column A

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

Additional Page Column 8 Column C
sas . . . . Amount of claim Value of collateral Unsecured
After listing any entries on this page, number them beginning with 2.3, followed Do not deduct the that supports this ortion
by 2.4, and so forth Br
4, 1. value of collataral. claim Hf any
WINDERMERE CHASE HOA Describe the property that secures the claim: §_ 2620.36 425,000.00, 0.00
Cradilors Name - -
1000 PINE HOLLOW POINT /706 GENTRY CT
Number Street -SINGLE FAMILY RESIDENCE
—_——— ———___————_ Ass of the date you file, the claim is: Check all that apply.
Altamonte Springs FL 32714 1 Contingent
Cay State ZIP Code OD unliquidatea
O Disputed
Who owes the debt? Cneck one. Nature of lien. Check all that apply.
O bebtor 1 only Ban agreement you made (such as morlgage or secured
Debtor 2 only car loan)
Q) pebtor 1 ang Debtor 2 only Q Statutory lien (such as tax lien, mechanic's lien)
& atieast one of the debtors and another C1 Judgment lien from a lawsuit
QO other (including a right to offset)
1 Check if this claim relates to a
community debt
Date debt was incurrea 1 1/20/200€ Last 4 digits of account number_4 3 4 4
LJ Describe the property that secures the clalm: $ $. 8.
Creditors Name ~ :
Number Street _ oe oe
As of the date you file, the claim is: Check all that apply.
Q Contingent
O untiqui
City Stale ZIP Code O disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
O1 cebtor 1 only O an agreament you made (such as morigage or secured
D2 bebter 2 only car loan)
1 oebtor 1 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic's lien)
C1 At least one of the debtors and another OQ Judgment lien from a lawsuit
QC) Gheck if this claim relates to a O1 other {inctucing a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
CJ Describe the property that secures the claim: 8 $_ Ss.
Creditors Name eee ee en ce - wwe
Number Steet
As of the dale you file, the claim is: Check all that apply.
2 Contingent
City Slate ZIP Code Q Unliquidated
Q Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply.
Q) Debtor 4 onty Anagreement you made (such as morigage or secured
Q Bebtor 2 only car loan)
Q] Debtor + and Debtor 2 only 1 Statutory hen (such as tax lien, mechanic's lien)
(J Atleast one of the debtors and another OQ) Judgment jien from a lawsuit
(1 other (including a right to offset) —_
O Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: is ___ 2,620.36)
If this is the last page of your form, add the dollar vatue totals from all pages. s 686,971.01
Write that number here: ane eens
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2. of 3-

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 17 of 44

LYDIA H CRAYTON Case number irxmen,6:21-BK-04261-LVV

First Name Middle Name Casi Name

ra List Others to Be Notified for a Debt That You Already Listed

Debtor +

 

Use this page only if you have athers ta be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agancy here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PROVIDENT FUNDING On which fine in Part + did you enter the creditor? 22
Name Last 4 digits of accountnumber_0 1 3 0.
P.O. BOX 513738
Number Street
LOS ANGELES CA 90051
City State 2iP Code

hg DIVINE & ESTES On which line in Part 1 did you enter the creditor? 2-3
Name Last 4 digits of account number _4 3 A 4
P.O, BOX 3269
Number Street
ORLANDO FL 32714
City State ZIP Code

feat SPEACIALTY MANAGEMENT COMPANY On which line in Part 1 did you enter the creditor? 2.3
Name Last 4 digits of account number O O 3 7.
41000 PINE HOLLOW POINT
Number Street —

ALTAMONTE SPRINGS FL 32714
City State ZIP Cade

[| , , On which tine in Part 4 did you enter the creditor?
Name Last 4 digits of accountnumber
Number Street a
City State ZIP Code

[| . on which line in Part 1 did you enter the creditor? _
Name ~~ Last 4 digits of accountnumber_
Number Street —

City _— ON ~ State ZIP Code

[| On which line in Part 1 did you enter the creditor? _
Name Last 4 digits of account number
Number Street
City State ZIP Code

Official Form 1060 Part 2 of Schedule D: Creditors Who Have Claims Secured bv Property page 3 of =

 
Case 6:21-bk-04261-LVV__Doc 22. Filed 10/22/21 Page 18 of 44

Fill in this information to identify your case:

peor: LYDIA H CRAYTON ©

Frsi ame Madea Meme cast Nae

 

Debtor 2 a ee cea
(Spouse. if filing) Fust Name Mido Name Last Nare

 

United States Bankruptcy Court for the: Middle District of Florida [+] ;
6:21-BK-04261-LVV WI Check ‘this sa”

Case number amend
(If known)

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY ciaims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

2d filmg

 

 

 

List All af Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
id No. Go to Part 2.

Q Yes.

2. List all of your priority unsecured claims. lf a creditor has more than one oriorily unsecured claim, list the creditor separately for each claim, For
each claim listed. identify what type of claim it is. If a claim has both priority anc nonpriority amounts. list that claim here and show both priorily and
nonpriority amounts. As much as passibie, list the claims in alphabetical order according to the creditor's name. {f you have more than two pra ty
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3

{For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

Total claim Priority Nonpriority
amount amount
LI Last 4 digits of account number _ Se 5
Priorty Gredilor's Name
oo When was the debt incurred?
Number Street oe
ad As of the date you file, the claim is: Circk all hac anoly
Cay tate 2 Cede OF Contirgent
| O Uniiquidated
Who incurred the debt? Check one. :
OU Oisputed
C1 Debtor 4 only
) Debtor 2 only Type of PRIORITY unsecured claim:
D 1
O1 Debtor and Debtor 2 only OQ Damestic support obligatians
OD Atleast one of the debtors and another .
QO CY taxes ane certain other dents you owe the gavernment
Check if this claim is for a community debt Claims for death or personal injury while you were
Is the claim subject to offset? __ nloxicated
U3 No CY thes. Specty __. ae
. UO ves
!
id Last 4 digits of account number | g 5 3
Priority Gredilor’s Name . ce ~ so "
When was the debt incurred? ee
Nomoer Street
As of the date you file, the claim is: Check all that apply
U Contingent
Giy Slate Zp Goe = CE Unliguisated
cy on:
Who incurred the debt? Check ore. Disputes

Debtor 1 only

CD Detter 2 only Type of PRIORITY unsecured claim:

 

 

2 pentor | and Debtor 2 only a Domestc supper! abligatians

2 Atleast one of the debtors and another 4 Taxes and certain other debts you owe ihe government
QO) Check if this claim is for a community debt vowed or nesganal sueyeunie yu eee

{s the claim subject to offset? O other Specify

LY No

UU ves

Offiaial Farm (nee ie Seharota CIE: Cenditnve Wha Haus linenriurad Claime hoe doo GO

 
Debtor 1 Case number of kare,

Case 6:21-bk-04261-LVV QQGA? Filed 10/22/21, , BROGERG! 44

 

First Kame Middle Nune east Nare

| Part 1: | Your PRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim _— Priority Nonpriority
arnount amount
. _ Last 4 digits of account number ___ 68 Le So
Pronty Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check alt thal apply.
Q Contingent
City State ZIP Code QO Unliquidated
Q Disputed
Who incurred the debt? Cneck one.
QO Debtor 1 only Type of PRIORITY unsecured claim:
1 Cebtor 2 only QO domestic support obligations
O) Debtor 1 and Debtor 2 only .
©) Taxes and certain other debts you owe the government
QO Atieast one of the debtors and another 4
QQ Claims for death or personal injury while you were
O Check if this claim is for a community debt intoxicated
QO other Specify __ oo
Is the claim subject to offset?
Q No
GO ves
__... .. Last4digits of accountnumber Bo. So S$
Pnonty Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q) Contingent
City State ZIP Code (unliquidated
O Disputed
Who Incurred the debt? Check one
Q) Debtor 1 only Type of PRIORITY unsecured claim:
2 Debtor 2 ont
entor 2 only O Domestic support obligations
O Debtor 1 and Debtor 2 only
ad Taxes and certain other debts you awe the government
0. Atteast one of the debtors and another 7 .
(J claims for death or personal injury whe you were
CJ check if this ctaim is for a community debt intoxicated
O other. Specify _
Is the claim subject to offset?
QO No
0 ves
Last 4 digits of account number —__ S___ $ cere Se

Priotily Creditors Name

 

Number Street

 

 

City Siate ZIP Code

Who incurred the debt? Check one.

CQ) Debtor 1 only

O Debtor 2 only

C) debtor 1 and Debtor 2 only

OQ Atieast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
1 No
QO ves

Ofiasial Fare (NACI

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

oO Contingent
QO Unliquidated
i) Disputed

Type of PRIORITY unsecured claim:

Domest support obligavans
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specity

O uoco

Rehadule FIFE: Craditere Wiha Haun Unennernd Claime

nana D

nf

R

 
Debtor 1

 

E:rst Name Mudie Name Last Nie

aes All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

Case 6:21-bk-04261-LVV Doc.2? Filed 10/22/21, ,,BaggeeQof44

Case number -# aaowey,

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nunpriority unsecured

claims fill out the Continuation Page of Part 2.

FAIRWINDS CREDIT UNION

 

 

Nanprionly Creditors Name

 

 

1350 W COLONIAL DR

Number Street

WINTER GARDEN FL 34787
City State ZIP Cade

Who incurred the debt? Check one.

J Debtor 1 anly

Q) Debtor 2 only

UJ Debtor 1 and Debtor 2 only

0 Atteast one of the debtors and another

QO Check if this claim is for a community debt

Is the claim subject to offset?
no
O ves

ORANGE COUNNTY UTILITIES

 

 

Nonpriority Creditors Name

9150 CURRY FORD RD

 

 

Number Street
ORLANDO FL 32825
City oo Stale «ZIP Code

Who incurred the debt? Check one.

i debtor 1 only

OQ) Debtor 2 only

2 Debtor 1 and Debtor 2 only

D) Atteast one of the debtors and another

(J Cheek if this claim is for a community debt

is the claim subject to offset?
fd No
0 ves

ka | PEN FED CREDIT UNION

Nonpnonty Creditors Name

 

 

PO BOX 1432

Number Street

ALEXANDRIA VA 22313
City State 21P Cade

Who incurred the debt? Check one

id Debtor 1 only

TO Petter 2 only

a Debtor 1 and Debtor 2 only

U) At least one of the debtors and another

UO) Check if this claim is for a community debt

Is the claim subject to offset?
if No
O yes

Total claim

S

Last 4 digits of account number 9 & Oo oO ; 95.00
When was the debt incurred? 06/22/2021

As of the date you file, the claim is: Check all that apply

Q Contingent
O) Untiquidated
a Disputed

Type of NONPRIORITY unsecured claim:

student loans

O Obligations arising aut of a separation agreement or divorce
that yau did not report as pnority claims

Q) Dests to pension or protit-shanng plans, and other similar debts

I omer Specty CHECKING ACCOUNT

a

Last 4 digits of account number 6 2 0 oO _ $27.75

When was the debt incurred? 05/30/2021

As of the date you file, the claim is; Check all that apply

oO Contingent
UO Unliquidated
a Oispiited

Type of NONPRIORITY unsecured claim:

Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

QO Debts to pension or profit-sharing plans, and other similar debts

W otter Specty WATER BIL

Last 4 digils of account number _4 _1 2 9 5 4,122.24
When was the debt incurred? 05/01/2011

As of the date you file, the claim is: Check all that apply

1 Conungent
QO Unliquidated
2 Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

a Obligations arising out of a separation agreement or divarce
that you did nat report as priority claims

{F Debts to pension or profit-sharing plans, and other similar debts

Wd’ otner Specify _CREDIT. CARD _

Official Fare tNREIE Sehadalea CIE: Praditare Wihn Have Unensnenn Cloime nana 3 ar A

 
Case number «it xnowe,

semen ASG E:21-Dk-04261-LVV Das. 6e Filed 10/22/21, .RAQGBAL 44

 

Fret Name Madcle Name Last Nane

iFiase Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
USAA Last 4 digits of account number 8 Ss oO 4 5 4,496.22
9800 FREDRICKSBURG RD when was the debt incurred? 03/27/2011
SAN ANTONIO ™ 78288 As of the date you file, the claim és: Check all tnat apply
City State ZIP Code OQ Contingent

Q Unliquidated

Who incurred the debt? Check one. OF Disputed

4 Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
Q bDentor 1 and Debtor 2 onty

U1 Student toans
Q Atteast one of the debtars and another

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

O Depts to pension eo profil-shanng plans, and ather sirndar debts
Is the claim subject to offset? @ other specty CREDIT CARD

uw No
Q yes

O) Check if this claim is for a community debt

Last4 digits of account number $

 

Nonprionty Creditor s Name
When was the debt incurred?

 

 

Number Sireel - er
As of the date you file, the claim is: Check all that apply
City " . State ZIP Code CJ Contingent
; 9 Q Unliquidated
Who incurred the debt? Check one. O Disputed

O) Debtor 1 only

Cd) Debier 2 only Type of NONPRIORITY unsecured claim:
Q) Debtor 1 and Deblor 2 only

a O) Student loans
Al - .

\ least one of the deblors and another u Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt _, You did not report as priority claims

CJ debts to pension or profit-sharing plans. and other similar debts

Is the claim subject to offset? O otner Specify
Ono
QO) Yes

Last 4 digits of account number |

 

Nonpnority Creditors Name
When was the debt incurred?

 

 

Number Streel 7 we
As of the date you file, the claim is: Check all that apply.
Cay State ZIP Code UO Contingent
QO Untiquidated
i ? Z *
Who incurred the debt? Check one. O 1 Dsputed

G] Debtor 1 only

Q] Debtor 2 only Type of NONPRIORITY unsecured claim:
C1 Debtor 1 and Debtor 2 only

g 1 student toans
At least Sanda i

least one of the debtors arid another {J Obligations arising out of a separation agreement or divorce tha:
O) Check if this claim is for a community debt you uid nol repor! as priority claus

OO dents to pension or profit-sharing plans, and other similar debts

Is the claim subject to offset? U other. Specity
QO No
QO yes

Officiant Ener 4Necit €Srhaduds CIE- Cenditnre Wiha Usain linenciirad Claime none 4 one 6

 
Debtor 1

Fst Kame Middle Nane

 

 

Lest Nae

Cage, 6:21 ,Dk-0426 1 MN Doc 22 Filed 10/22/21, Regeaagl 44

Case number afr-arsri

ee Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

TRS RECOVERY SERVICES

 

Name

1600 TERRELL MILL ROAD

 

Number Street

 

MARIETTA GA

30067

 

city oe State

NCSPLUS INCORPORATED

ZIP Code |

 

Name

117 EAST 24TH STREET

 

Number Streal

54 FLOOR

 

NEW YORK NY

10010

 

City State

ZIP Code

GC SERVICES LIMITED PARTNERSHIP

 

Name

PO BOX 3026

 

Nurnber Street

 

HOUSTON Tx

77256

 

City . Slate

ZIP Code

 

Name

Numbe> Street

 

City State

ZiP Code

 

Name

 

Number Street

 

City”

 

Name

Number Street

 

Cily State

ZIP Code

 

Name

 

Number Street

 

City State

Official Enren 4NQE UE

ZIP Cade

Erhadsilo FIE- Oraditnee Wiha Uaun Mneariend Claimc

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.1 of (Check one): OQ) Part 1: Creditors with Priorily Unsecured Claims
W@ Part 2: Creditors with Nonpriorily Unsecured Claims

Last 4 digits of account number 9 6 Oo Oo

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.2 of (Check ane): O Part 1. Creditors with Priory Unsecured Claims

@@ Pant 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number 6 2 0 0

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.4 of (Check one): Q) Part 1: Creditors with Priority Unsecured Claims

W@ Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number 8 5S 0 4
On which entry in Part 1 or Part 2 did you list the original creditor?

Line af (Check one): J Part 1: Creditors with Priority Unsecured Claims

QD Part 2: Creditors with Nanpriorily Unsecured
Claims

Last 4 digits of account number |

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check ane) J Part 1: Creditors with Priority Unsecured Claims

U) Part 2: Creditors with Nunpriority Unsecured
Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): L) Part 1: Creditors with Priority Unsecured Claims

O Part 2° Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number __

On which entry in Part 1 or Part 2 did you list the original creditor?

Line ot (Check one}: Part 1: Creditors with Priorily Unsecured Claims

Q Part 2: Creditors wilh Nonpriority Unsecured
Claims

Last 4 digits of account number _

nace 5 at 6

 
veoor 1 CASBIB:2 Iabk-O426arkwtyn Doc 22 Filed,1Q/2?

 

First Name

Miridle Name

Last Naine

Ea Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

Total claim
i igati 6a 0.00
Total claims 6a. Domestic support obligations $s
from Part 1 6b. Taxes and certain other debts you owe the
government 5b. g 0.00
6c. Claims for death or personal injury while you were
intoxicated 6c. ‘ 0.00
6d. Other. Add all other priority unsecured claims.
Write that amount here. bd fg 0.00
6e. Total. Add lines 6a through 6d. 6e.
9 5 0.00
Total claim
Total claims 6f. Student loans 6f 5 0.00.
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority 0.00
claims 6g. $. —_ a
Sh. Debts to pension or profit-sharing plans, and other
similar debts 6h. 5 0.00
6. Other. Add ail other nonpriority unsecured claims.
Write that amount here 6. Fs _ 3,24 1.21
6}. . 5
}}. Total. Add lines 6f through 6i 6. § 3,241,214

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IF RATA)

 

 

 

 

 

 

 

 

Sehodila BIE: Croditarc Wiha Have Unencorard Claime

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 24 of 44

Fill in this information to identify your case:

Debtor 4 LYDIA H

CRAYTON

 

First Name Midole Name

Debtor 2

Last Namie

 

(Spouse. if fling) est Name Middle Nae

United Stales Bankruptcy Court for the: Middle District of Florida

6:21-BK-04261-LVV

Case number
WU known

 

Last Name

EI

 

Official Form 1061
Schedule I: Your Income

Check if this is:
An amended filing

Oa supplement showing postpetition chapter 13
income as of the following date:

MM / DDS YYYY

12/15

 

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2}, both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
\f you are separated and your spouse is not filing with you, do nat include information abaut your spouse. If mare space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1: Describe Employment

 

1. Fill in your employment
information.

If you have more than one job,
attach a separate page with
information about additional
employers.

Employment status

Include part-time, seasonal, or

self-employed work.

Oo ti
Occupation may include student eeupation
or homemaker. if it applies.

Employer’s name

Employer’s address

How long employed there? 6

Give Details About Monthly Income

Debtor 1

Debtor 2 or non-filing spouse

 

4 Employed
O Not employed

SALES

w Employed
QO Not employed

SALES

 

SHELF OVERSTOCKS |

1452 BRUTON BLVD

Number Strect

AJC LLC /

10450 TURKEY LAKERD |

 

32805

ORLANDO FL
ZIP Code

City State

 

Number = Street

ORLANDO FL 32805

City ——~<i~s~si‘Rte:«ZIP cde
6

Estimate monthly income as of the date you file this form. If you have nothing to report for any line. write $0 in the space. Include your non-filing

spouse unless you are separated.

If you or your non-filing spouse have more than one employer. combine the information for all employers far that persan on the lines
below. ff you need more space, attach a separate sheet to this form.

 

2. List monthly gross wages, salary, and commissions (before all payroll

deductions}. If not paid monthly, calculate what the monthly wage would be 2.

3. Estimate and list monthly overtime pay.

4, Calculate gross income. Add line 2 + line 3.

Official Form 1061

 

For Debtor 1 For Debtor 2 or
non-filing spouse
5s __0.00 § 0.00
3. +35 0.00 +3 0.00
4 S$ 0.00 $ 0.00

 

 

 

 

 

Schedule t: Your Income

page 14

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 25 of 44

 

 

 

 

 

 

pebtor1 LYDIA H CRAYTON Case number urns 6:2 17BK-O4261-LVV
Frat tame Mode Nanie Tas Name ee ~~
For Debtor 1 For Oebtor 2 or
non-filing spouse
Copy line 4 here. ee ccseeeescsseseecseeeseesseeseeeeestintcenntenvasein convesseseenvee 34S 0.00 s_____ 0.00
5. List all payroll deductions:
Sa. Tax, Medicare, and Social Security deductions Sa. $ 0.00. $. 0.00.
5b. Mandatory contributions for retirement plans 5b. 8 0.00 $ 0.00
5c. Voluntary contributions for retirement plans 5c S$ 0.00 $ 0.00
5d. Required repayments of retirement fund toans sd $0.00 gsi.
5e. Insurance Se. § 9.00 b 0.00
5f. Domestic support obligations SE. $_ 0.00 $ 9.00
5q. Union dues 59. s____ 0.00 $ 0.00
5h. Other deductions. Specify:0 5h. +3 0.00 +5 0.00
6. Add the payroll deductions. Add lines 5a + 5b+5c+5d+S5e+5f+5g+5h 6 § 0.00 5 0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $_ 9.00 $ 0.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attacn a statement for each property ard business showing gross
receipts, ardinary and necessary business expenses, and the total 5 3,487.00 $ 2,328.33
monthly net income. 8a. — —————————
8b. Interest and dividends 8b. § 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimany. spousal support, child support, maintenance, divorce S 0.00 3 0.00
settlement, and properly settlement 8c. OO
8d. Unemployment compensation ed 8 0.00 $ 0.00
Be. Social Security ge. § 0.00 $ 0.00
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefils under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify 8f s_s—0.00 $ 0.00
8g. Pension or retirement income aq. S$ 0.00 $ 0.00
Bh. Other monthly income. Specity: ah. +S 0.00 +5 0.00
9. Add all other income. Add lines 8a + 8b + 8c + 8d + Se + Bf +8g + Bh. 9 | S 3,487.00| | $2,328.33
10. Calculate monthly income. Add line 7 + fine 9. 3,487.00 2,328.33 jn 5 815.33
Add the entries in line 10 for Debtor 1 and Debtor 2 of non-filing spouse. to] SSE] $__evehe JE B ve lees

 

 

 

 

 

 

 

. State all other regular contributions to the expenses that you list in Schedule J.

Inctude contributions from an unmarried parcner, members of your household. your dependents. your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-16 or amounts that are not available to pay expenses listed in Schedule J.
Specify: a+ 5 0.00

 

1

DS

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabiliues and Certain Statistical information, if it applies 12

 

Combined
monthly income

13 Do you expect an increase or decrease within the year after you file this form?
4 No
QO Yes Explain: |

 

 

Official Form 1061 Schedule t: Your Income page 2

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 26 of 44

 

Fill in this information to identify your case:

 

 

Dedtor1 LYDIA H CRAYTON baie;
eblor First Nama dda Name Last Name oo Check if this is:
Debtor 2
(Seuse, iCiing) Festwame Mudate Name Last Name #4 An amended filing

United States Bankruptcy Coun for the: Middle District of Florida
Case number 6:21-BK-04261-LVV

(f known)

Oa supplement showing postpetition chapter 13
[x] expenses as of the following date:

MM / OD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet ta this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Ea Describe Your Household

1. ts this a joint case?

 

W No. Gototine 2
O) Yes. Does Debtor 2 live ina separate household?

Oi No
QC) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? QO No

 

 

 

 

 

Dependent’s relationship to Dependent's Ooes dapendant live
Do not list Debtor 1 and ww Yes. Fill out this information for Oebtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... ee g
N
Do not state the dependents’ DAUGHTER 12 a ve
names. es
DAUGHTER 12 Ci No
a Yes
QO) No
QO ves
O No
QO ves
U No
UO yes
3. Do your expenses include W@W No

expenses of peaple other than
yourself and your dependents?

O Yes

Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expanses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value af

such assistance and have included it on Schedule J: Your income (Official Form 1061.) Your expenses

 

4. The rental or home ownership expenses for your residence. Include first mortgage payments and

$ 2,326.50

any rent for the ground or tat. 4.

If not included in line 4:

4a. Real estate taxes 4a. 221.21
4b. Property, homeowner's, or renter’s insurance 4b. $ 196.00
dc. Home maintenance, repair. and upkeep expenses 4c. $ _ 500.00
4d. Homeowner's association or condominium dues 4d. $ 264.00

Official Form 106J Schedule J: Your Expenses page 1

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 27 of 44

 

Debtors LYDIA H CRAYTON

First Name Middle kame Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

™

20.

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

Food and housekeeping supplies

. Childcare and children’s education costs

Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus ar train fare.
Do not inciude car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a Life insurance
1$b. Health insurance
15c. Vehicle insurance

16d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in tines 4 or 20.

Specify:

 

Installment or lease payments:
17a, Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c Other. Specify:

 

17d. Other. Specify:

 

Case number ( ancwn, 6:21 -BK-04261 -LVV

6a.
6b.
6c.
60.

18a.
15b.
15¢.
15d.

17a.

17.

17d.

Your payments of alimony, maintenance, and support that you did nat report as deducted from

your pay an line 5, Schedule I, Your Income (Official Form 106i).

Other payments you make to support others who do not live with you.

Specify:

 

Other real property expenses not included in lines 4 ar 5 of this form or on Schedule f: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter's insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

20a.
20b.
20c.
20d.
20e.

Your expenses

 

 

$ 0.00
3 425.00
§ 260.00
$ 170.00
s__ 0.00.
g 600.00
$ 0.00
s_ _30.00
5. __._20.00
Ey 0.00
$ 250.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 210.00
5 0.00
5 0.00
$ 256.45
s 0.00
$ 0.00
$ 0.00
$ 0.00
5 0.00
$ 0.00
$ 0.00
$ 0.00
5 0,00
$ 88.00
page 2

 
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Debtor1 LYDIA H CRAYTON

Frat Name Kidale Kame Last Name

 

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2}, if any, from Official Form 1065-2

22c. Add line 22a and 22b. The result is your monthiy expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly incame) from Schedule 1.
23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase ar decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

C1 No.

ves. Explain here: | expect my exspenses to decrease based on modification of the current terms of the

21.

22a

22b.

22c.

23a

 

+5

A

Case number «ranma 6:24 -BK-04261-LVV_ aren

0.00

5,817.71

6.00

5,817.71

5,815.33

5,817.74

-2.41

morigage. Finish paying off car loan that has a one year term remaining and a reduction to the

current high rate.

Official Farm 106J Schedule J: Your Expenses

 

page 3

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 29 of 44

Fillin this information to identify your case:

Debtor 4 LYDIA H CRAYTON

First Name Middle Name “LastName

 

Debtor 2 . .
(Spouse, if filing) First Name Mutate Name Last Narre

United States Bankrupicy Court for the Middle District of Florida [=]

Case number 22 1-BK-! ~
(0 known)

Cd Check if this is an

 

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/15

 

If two married people are filing together, both are equally responsible for supplying correct information.

 

You must file this form whenever you file bankruptcy schedules or ded schedules. Making a false ding property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both, 1B U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

W No
Q Yes. Name of person Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature {Oficial Form 119).

Under penalty of perjury, | dectare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x

Signature of Debtor 2

 

 

 

pate 10/15/2021 Date

MM/ OD # YYYY MMi DO? YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 30 of 44

Fill in this information to identify your case: Check one box only as directed in this form and in

Form 122A-1Supp:
Debtor 1 LYDIA H CRAYTON

First Name Maadie Name Lasl Name

Wd 1. There is no presumption of abuse.

Debtor 2
(Spouse, if filing) First Name Mudie Namo Last Name

 

O) 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 1224-2).

United States Bankruptcy Court for the: Middle District of Florida |

Case number 6:21-BK-04261-LVV

(if knawn}

C] 3. The Means Test does not apply now because of
qualified military service but it could apply later.

  

 

id Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. (nclude the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, lete and file Si t of E: ption from Pr iption of
Abuse Under § 707(6)(2) (Official Farm 122A4-1Supp) with this form.

 

 

Calculate Your Current Monthly Income

| 1, What is your marital and filing status? Check one only.
OC Not married. Fill out Column A, lines 2-11.
UO) Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

@ Married and your spouse is NOT filing with you. You and your spouse are:
| J Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

O1 Living separately or are legaily separated. Fill out Column A, lines 2-11; do not fill aut Column 8. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fillin the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example. if you are filing on September 15, the 6-month period would be March 1 through
August 31. if the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not inctude any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report far any line, write $0 in the space.

i Column A Column B
: Debtor 1 Debtor 2 or
non-filing spouse
| 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before ail payroll deductions). $____0.00 $__0.00
| 3. Alimony and maintenance payments. Do not include payments from a spouse if $ 0.00 $ 0.00

Column B is filied in.

i 4. Allamounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
fram an unmarried partner, members of your household, your dependents, parents,
and roommates. tnclude regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3.

$ 0.00 $ 0.00

: 5. Net Income from operating a business, profession, Debtor 1 Debtor 2
or farm 26.38 $623.00
Gross receipts (before all deductions) 5 : ev’
Ordinary and necessary operating expenses ~3039.38- 2294.67
Net monthly income from a business, profession, or farm 487.00 $328.33; ory, g_ 3,487.00 $ 2,328.33
§. Net income from rental and other real property Debtor 144 Debtor
Gross receipts (before all deductions) gs_UeN 3
Ordinary and necessary operating expenses -$_0.00-3 0.00
Net monthly income from rental or other real property $ 0.00 $ 0.006%» $ 0.00 $ 0.00

; 7. Interest, dividends, and royalties

  

Official! Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

 
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Debtor 1 LYDIA H CRAYTON Case number sf annen: 6:21-BK-04261-LVV
Frest Nama Micdle Name Last Nave
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0.00 S 0.00

10.

1

=

Do nat enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: oe

FOP YOU cee cece en eeeetceiunenenesits meron  § 0.00
FOF YOUF SPOUSE ee. occ § 0.00

Pension or retirement income. Do not include any amount received that was a

benefit under the Social Security Act. Also. except as stated in the next sentence, do

not include any compensation, pension, pay, annuity, or allowance paid by the

United States Government in connection with a disability. combat-related injury or

disability, or death of a member of the uniformed services. !f you received any retired

pay paid under chapter 61 of title 10, then include that pay only to the extent that it

does not exceed the amount of retired pay to which you would otherwise be entitled if 0.00 0.00
retired under any provision of title 10 other than chapter 61 of that title. S . 5 =
Income from all other sources not listed above. Specify the source and amount. Do

not include any benefits received under the Social Security Act; payments made under

the Federal law relating to the national emergency declared by the President under the

National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus

disease 2019 (COVID-19); payments received as a victim of a war crime, a crime

against humanity, or international or domestic terrorism: or compensation, pension,

Pay. annuity, or allowance paid by the United States Government in connection with a

disability, combat-related injury or disability, or death of a member of the uniformed

services. If necessary, list other sources on a separate page and put the total below.

$ 0.00 s 0.00

g 0.00 $ 0.00

Total amounts from separate pages. if any. +5 0.00 +35 0.00

 

 

. Calculate your total current monthly income. Add lines 2 through 10 for each

column. Then add the total for Column A to the total for Column B. 5 3,487.00 + g 2,328.33

 

=l5 5,815.33

 

 

 

Ey vetermine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from line 11. .......... cotinine Copy tine 11 here>
Multiply by 12 (the number of months in a year).

12b. The result is your annua! income for this part of the form 12b.

13. Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live. FLORIDA
Fill in the number of people in your household 3
Fill in the median family income for your state and size of household. «0.0.0...

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

14. How do the lines compare?

14a. @ | ine 12b is less than or equal to line 13. On the top of page 1. check box 1. There 1s No presumption of abuse.
Go to Part 3. Da NOT fill out or file Official Form 122A-2

14b. CJ Line 12b is more than fine 13. On the top of page 1. check box 2. The presumption of abuse is determined by Form 122,
Go to Part 3 and fill out Form 122A-2

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income

 

Total current
monthly income

§ 5,815.33

x 12
S 69,783.96

s 71,689.00

A-2.

page 2

 
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Debtor 3 LYDIA H CRAYTON . Case number tt known, 6:21-BK-04261-LVV_ .

First Nama Widdle Name Last Name!

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct

 

 

 

h Ovekt x
reserve Signature of Debtor 2

bate 10/15/2021 Date
MMi DD /YYYY MM/ OD YYYY

if you checked line 14a, do NOT fill out or file Form 122A-2.
i If you checked line 14b, fill out Form 122A-2 and file it with this form.

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 3

 
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UR MLrmaa Lee Cos ae el ore

Debtor 1 LYDIA H CRAYTON

Fest Name ~ Middle Name Last Name

 

Debtor 2
(Spouse. if filing) First Name Middle Narre Last Name

 

United States Bankruptcy Court for the: Middle District of Florida [=]

Case number 6:21-BK-04261-LVV
teow) - : oo Check if this is an
amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

 

Be as complete and accurate as possible. If two masried people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

& married
QO Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

Ono

O Yes. List all of the Places you lived in the last 3 years. Do not include where you live now.

 

 

 

Debtor 1: Oates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
CJ same as Debtor 1 O1 same as Debtor 1
_ a — From a _ From
Number Street Number Street
To _ To
City State ZIP Code City State ZIP Coda
(J same as Debtor 1 QO same as Denior 1
a From _ From
Number Street ” Number Street
Ta _ To _ _
City " State ZIP Code Cily Stale ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No

QO ves. Make sure you fill out Schedule H: Your Codebtors (Official Form 1064).

Explain the Sources of Your income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

 
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LYDIA H

FrstName

Debtor 1

 

Mindie Name Vast Narre

CRAYTON

Case number ie tenis,

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income yau received from all jobs and all businesses. including part-time activities.
If you are filing a joint case and you have income thal you receive lagether. list it only once under Debtor 1.

O No
Yes. Fill in the details.

Debtor 1

Sources of income
Check all that apply.

Q Wages, commissions
bonuses. tips

WJ Operating a business

From January 1 of current year until
the date you filed for bankruptcy:

O Wages, commissions.

For last calendar year: .
bonuses. tips

(January 1 to December 31,2020 ) KA operating a business
YYYY

Q Wages. commissions.

For the calendar year before that:
bonuses. tips

(January 1 to December 31,2019 ) Operating a business
Y'

vty

Gross income

(before deductions and
exclusions)

$___ 30,000.00

$ 38,400.00

3 __ 29,224.92

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony: child support; Social Security.
unemployment, and other public benefit payments; pensions: rental income; interest; dividends; money collected from lawsuits; royalties: and
gambling and lottery winnings. If you are filing a joint case and you have income that you received tagether. list it only once under Debtor 1.

Debtor 2

Sources of income
Check all that apply.

QO Wages, commissions.
bonuses, tips

a Operating a business

QO Wages, commissions,
bonuses. tips

Q Operating a business

lad Wages. commissions,
bonuses, tips

u Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in Jine 4

W No

Q) yes. Fill in the details.

Dabtor 1

Sources of income
Describe below.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

Gross income from
Bach source

(before deductions and
exclusions)

Debtor 2

Sources of income
Dascribe below.

 

(January 1 to December 31.2020)

 

YYYY

 

For the calendar year before that:

 

 

(January 1 to December 31,2019 )
yyy

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Gross income
(before deductions and
exclusions)

Gross income from
each source

(before deductions and
exclusions}

page 2

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 35 of 44

pevir1 LYDIA H CRAYTON cane number wun 8:21-BK-04261-LVV

brst Name Maxie Nara Last Nance

 

eee it Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
QO) No. Neither Debtar 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy. did you pay any creditor a total of $6.825° or more?

id No. Go ta line 7

QO] Yes. List below each creditor to whom you paid a total of $6.825° or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

#1 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of S600 or more?

Q) No. Go lo tine 7
© Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

Dates of Total amount paid Amount you stili owe Was this payment for...
payment
FAIRWINDS CREDIT UNION 09/30/2021 5 769.35 s 7,230.98 U
Creditors Name Mortgage
1350 W COLONIAL DR 09/10/2021 Bow
Number Street | Credif card
08/25/2021 LD Loan repayment

 

Q Suppliers or vendors

WINTER GARC FL 34787

 

wy ~SOS”«SStale IP Code OQ other -
a. $ $ Q Morigage
Creditor s Name
Oca
Number Street ° - O) credit cara

Q Loan repayment

 

oO Supphers or vendors

 

 

 

oo i
City State ZIP Gode otme
$ 5 Q Mortgage
Creditor s Nama
a) car
Number Street Q) credit cara

QO Loan repayment

 

C) Suppliers or vendors.

other

Cny Stare ZIP Code oo

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

 
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Debtor1 LYDIA H CRAYTON Case number «ann, ©:-2 1-BK-0426 1-LVV _

Fret Name Miidie Namie Last Narre

7. Within 1 year before you filed far bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives: any general partners; relatives of any general partners; partnerships of which you are a general partner.
corporations of which you are an officer, director. person in control. of owner of 20% or more of their voting securities, and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations.
such as child support and alimony.

A no

1 Yes. List all payments to an insider.

 

 

 

 

 

 

Dates of Total A you still R for this pay
Payment paid owe
~ $ $
insider's Name
Number Street
City State ZIP Code
S $

 

Insider's Name

 

Number Street

 

culy Stale 2iP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debls guaranteed or cosigned by an insider.

H Nno

QJ Yes. List al! payments that benefited an insider

Dates of Total A it you stil FR for this

payment paid owe Include creditor's name

 

Insider 5 Name $ s

 

Number = Street

 

Cily Siale ZIP Code

 

Insider's Name

Nunber Street

 

 

City Staie ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

 
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Case number ! wzn

pepior1 LYDIA H CRAYTON

Forst Name Mattie Name Last Name

6:21-BK-04261-LVV__

 

Identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces. collection suits. paternity actions, support or custody modifications.
and contract disputes.

O No
1 Yes. Fillin the details.

 

Nature of the case Court or agency Status of the case
FORECLOSURE
cave tite US BANK NATIONAL AS NINTH JUDICIAL CIRCUIT OF ELE 79 ncn
vs. LYDIA H CRAYTON: ANDF 425 NORTH ORANGE AVE. F on appeat
Number _ Stel SOOO d Concluded
Case number 20190375420 ORLANDO FL 32801
Gy ——té<“<i~s*é‘s:~™:”:CSRate~=SCIP de”
Case title SounName OO ae OD Pending
td On appeal
Number Sweat OOO:C*«iYd) Gena ctreed

Case number

City State ZiP Code
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or lavied?
Check all that apply and fill in the details below.

OQ Ne. Gotoline 11
@ Yes. Fill in the information below.

 

 

 

 

Describe the property Date Value of the property
SINGLE FAMILY RESIDENCE
US BANK NATIONAL ASSOCIATIC 05/31/2019 5 475,000.00
Creditor's Name ——___—. eee
60 LIVINGSTON AVE
Number Street Explain what happened
EP-MN-WS3D Q Property was repossessed,
Q Property was foreclosed.
SAINT PAUL MN 55107 QO Property was garnished.
tity Stale ZIP Code Property was attached. seized, or levied
Describe the property Date Value of the property
S$.

Creditor s Name

 

Number — Street
Explain what happened

Property was repossessed.

 

Property was foreclosed.
Property was garnished.

 

City Slate ZIP Code

Ooceg

Property was attached, seized. or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 38 of 44

Debtor + LYDIA H . CRAYTON Case number of kina: 6:21-BK-04261 -LVV

First Name Middle Name “Last Name

 

41. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

LJ No
B ves. Fill in the details.

Describe the action the creditor took Date action Amount

US BANK NATIONAL ASSOCIA’ was taken

Creator's Name

 

 

Did not credit the acct with the instrument to

60 LIVINGSTON AVE satisfy acct in full. US bank forwarded the 09/15/2021 ¢ 915,568.07
Numbor “Street instrument to Provident Funding.

EP-MN-WS3D

SAINT PAUL MN 55107

Gy ——~SO*~C~s~—CSsSOS”SCSS Mate ZIP CE ———SsLaast 4 digits of account number: xxxx-_O 1 3. O-

12. Within 1 year before you filed for bankruptcy, was any of your praperty in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

a No
QO) Yes

ba List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
@ No

Q) Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

ne $
Person to Wham You Gave the Gif ~
_— $_

Number Street
Cay State ZIP Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

$
Person to Whom You Gave lhe Gift

$

Number Streat

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

 
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Debtor 4 LYDIA H

First Name Niddle Name

CRAYTON Case number weno 6:21-BK-O4261-LVV

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

W no

LJ Yes. Fillin the details for each gift or contribution.

Gifts or contributions to charities

Oescribe what you contributed
that total more than $600

Date you Value
contributed

ee _ $
Charity's Name

Number Street - - ~~

City State ZiP Code

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

W No

OQ) Yes. Fill in the details.

Desceibe the property you lost and

Oescribe any insurance coverage for the loss Gate of your Value of property
how the loss occurred . , - loss lost
Include the amount that insurance has paid. List pending insurance
claims on line 33 of Schedule A/B: Property.
%

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy
No

QO) Yes. Fill in the details.

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid

made

Nurrber = Street

City State ZIP Cade

Email or website address ~~

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 40 of 44

 

peor? ~=OLYDIA oH CRAYTON Case number ytimm 8:2 1-BK-04261-LVV
mist Name Mudie Name Last Name
Description and value of any property transferred Date payment or Amount of

transfer was made = payment
Bersan Who Was Paid

Number Straet

City State 7iP Code

Email or website agdrass
Person Who Made the Payment, if Nol You

17. Within 1 year before you filed for bankruptcy, did you or anyone else aciing on your behalf pay or transfer any property to anyone who
pramised to help you deal with your creditors or to make payments to your crediters?
Do not include any payment or transfer that you listed on line 16.

W No

O Yes. Fill in the details.

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
%
Number Sireet
° ~ $

Gy = ”~—~—sS~SSCS tat ZIP Code
18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as Ihe granting of a security interest or marigage on your property).
Do not include gifts and transfers that you have already listed on this statement.
OQ No
© Yes. Fill in the details,

Description and value of property Describe any property or payments received Date transfer
debt: ted it h wi di

LYDIA t EL KINDRED TRUST transferred or debts pald in exchange as made

Berson Wno Received transter ———s—=<—t*é‘“‘é;CS FOG GENTRY CT NONE
9907 8TH STREET SINGLE FAMILY 05/01/2020
Number Street er RESIDENCE

UNIT 736
GOTHA FL 34734

City “State ZIP Code

Person's relationship to you _

Parson Who Received Transfer

Numbe" Street

City Slate ZIP Code
Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page &

 
Case 6:21-bk-04261-LVV Doc 22 Filed 10/22/21 Page 41 of 44

Debtors LYDIA H CRAYTON Case number or senior 8:21-BK-04261-LVV_

rst Name Middle Name Last Name

 

19, Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

W No
O) Yes. Fill in the details.

Description and value of the property transterred Date transfer
was made

Name of trust . wee

ified List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,

 

brokerage houses, pension funds, peratives, iations, and other financial institutions.
1 No
© Yes. Fill in the details.
Last 4 digits of account number Type of account or Date account was Last batance before
instrument closed, sold, moved, closing or transfer
or transferred
USAA
Name of Financial Institution XXXX-_1 A 3 7 a Checking 07/15/2021 $ 5.00
9800 FREDRICKSBURG RD —~ OO savi
Number Street Savings
Q Money market
SAN ANTONIO TX 78288 O) Brokerage
City State ZIP Gode oO Other
FAIRWINDS CREDIT UNION xxxx-9 6 0 0 checking 04/30/2021 $ -95.00
Name of Financial Institution OO
Q .
1350 W COLONIAL DR Savings
Number Street QO Money market
_—— an QO Brokerage
WINTER GARDEFL _78288 OQ) other.

City State = ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

W No
CD Yes. Fill in the details.

Who else had access to it? Describe the contents Do you still
have it?
1 No
Name of Financial Institution Name Cd Yes

Number Street Number Street

City Stale ZIP Code
City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 
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Debtor 1 LYDIA H CRAYTON Case number ut kravs 6:21-BK-04261 -LVV_ _.

Fast Nane Mickle: Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
@ No
CQ) Yes. Fill in the details.

 

Who else has or had access to it? Describe the contents Do you stil!
have it?
O wo
Name of Starage Facility Name a Yes
Number = Street Number Street

 

 

City State ZIP Code

City State ZIP Code

Identity Property You Hald or Control for Someone Else

23. Do you hald or control any property that someone else owns? Include any property you borrawed from, are storing for,
or hold in trust for someone.

W no
(1 Yes. Fill in the details.
Where is the property? Describe the property Value

Owner's Name $

Number Street
Number = Street

— SOC State ZIP Code
Cily State ZIP Code

Eka Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material inte the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it. including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pofiutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

i No

OQ) Ves. Fill in the details.

 

 

Governmental unit Environmental law, if you know it Date of notice
Name oF site Governmental unit
Number Street Number Street

City State ZIP Code

City State ZIP Cade

Official Farm 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 
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Debtor 1 LYDIA H CRAYTON Case number (anon 8:2 1-04261 -BK-LVV

FirstName Riddle Name

 

(ast Name

25. Have you notified any governmental unit of any release of hazardous material?

@ No

Q Yes. Fill in the details.

 

 

Governmental unit Environmental law, if you know it Date of notice
: Name of site Governmental unit
} Number Street Number Streat

City State ZIP Code

City State ZIP Code

26. Have you been a party in any judiciai or administrative proceeding under any environmental law? Include settlements and orders.

UW no

O Yes. Fit! in the details.

Status of the
Court or agancy Nature of the case case
Case title. Q
Court Name Pending
Q On appeal
Number Street Q Concluded
Case number City State ZIP Code

Give Details About Your Business or Connections to Any Business

 

2?. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
QO Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
W Amember of a limited liability company (LLC) or limited liability partnership (LLP)
Qa partner in a partnership
QO An officer, director, or managing executive of a corporation

Q) An owner of at least 5% of the voting or equity securities of a corporation
QO No. None of the above applies. Go to Part 12.

@ Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business. Employer Identification number

 

SHEL OVERSTOCKS Do not include Social Security number or ITIN.
Business Name WHOLESALE
10450 TURKEY LAKE RD ew: 4 7-1 2.95 306
Number Sweet SsS—S
UNIT 690093 su. accountant or bookkeeper Dates business existed
ORLANDO FL 32819 From 10/12/2016 To
tay ~~—~*~*~CS*«State =P Coe
Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.
Business Name
EIN:  -
Number Street
Name of accountant or bookkeeper Dates business existed
From _ sD

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 
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Debtor1 LYDIA H CRAYTON Case number (4 sown 8:2 1-BK-04261 -LVV

Fug Name Mage Name (ast Name

 

Describe the nature of the business Employer Identification number

Do nat Include Social Security number or ITIN.

Business Name

EIN;
Numb: Street
umber sires Name of accountant or baokkeaper Dates business existed
From Ta

City = —St*~=<“‘~*é‘*«SSate:~«SSC Pode

 

28, Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Y no

O Yes. Fill in the details below.

Date issued
Name MM 1007 YYYY

Number = Street

 

City State = ZIP Code

 

‘ | have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that tha
I answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
' in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C, §§ 152, 1341, 1519, and 3571.

 

 

Signature of Debtor 2

 

 

 

Date 10/15/2021 Date
Did you attach additional pages to Your S t of Fit ial Affairs for individuals Filing for Bankruptcy (Official Form 107)?
: & no
! Q) yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

& No
CI Yes. Name of person . Attach the Bankruptcy Petition Preparer's Notice,
i Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 
